
      1
     Deborah Duncan Boyd, Petitioner  v.  Marcie McMinimee, Personal Representative and Pamela Barrett. Respondents No. 24SC446Supreme Court of Colorado, En BancJanuary 13, 2025
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 23CA1589
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;DENIED
      PETITIONS FOR WRIT OF CERTIORARI
    
    2
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    